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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DOYLE WAYNE BINGHAM,                      §
#126074982, ET AL.,                       §
                                          §
             Plaintiffs,                  §
                                          §
V.                                        §         No. 3:20-cv-1857-X-BN
                                          §
LASALLE SOUTHWEST                         §
CORRECTIONS, ET AL.,                      §
                                          §
             Defendants.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case [Doc. No. 4]. No objections were filed. The District Court

reviewed the proposed findings, conclusions, and recommendation for plain error.

Finding none, the Court ACCEPTS the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge.

       The Court therefore DISMISSES Plaintiffs’ “class action” complaint under 28

U.S.C. § 1915A(b)(1) without prejudice to any Plaintiff filing his own, signed amended

complaint and either paying the full filing fee or filing his own motion for leave to

proceed in forma pauperis no later than 14 days after entry of this order.

       SO ORDERED this 5th day of November 2020.




                                       ____________________________________
                                       BRANTLEY STARR
                                       UNITED STATES DISTRICT JUDGE
